                          UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF MASSACHUSETTS


 MARGARET CZERWIENSKI,
 LILIA KILBURN, and AMULYA
 MANDAVA

         Plaintiffs,
    v.                                                   CASE NO. 1:22-cv-10202-JGD

 HARVARD UNIVERSITY AND THE
 PRESIDENT AND FELLOWS OF
 HARVARD COLLEGE

         Defendants.


 MEMORANDUM OF LAW IN SUPPORT OF HARVARD’S MOTION FOR PARTIAL
             SUMMARY JUDGMENT AS TO COUNT TEN

I. INTRODUCTION

         Count Ten of the Complaint in this action alleges that, during Harvard’s investigation of

her sexual harassment allegations, Harvard obtained plaintiff Lilia Kilburn’s private therapy rec-

ords from a mental health counselor and released them without her consent. This claim is patently

false. To the contrary, Kilburn herself (1) volunteered to the Harvard investigator reviewing her

sexual harassment claims that she had spoken to a therapist about Professor John Comaroff’s

alleged harassment of her; (2) told the investigator that the therapist had a record of “specific

memories” that would provide “contemporaneous corroboration” for her claims; (3) said the

therapist stood “ready to attest” to her complaint; (4) gave the investigator the therapist’s name

and contact information; (5) urged the investigator to contact the therapist and to obtain her therapy



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records for use in Harvard’s investigation; and (6) contacted her therapist to ask her to search for

documentation supporting her allegations against Comaroff.

        Moreover, before Kilburn gave the Harvard investigator her therapist’s name and contact

information, Harvard had notified Kilburn no fewer than seven times that Harvard’s procedures

for investigating harassment complaints required the investigator to disclose evidence the

investigator obtained during the investigation, like the therapy records, to Comaroff.

       When Harvard spoke to Kilburn’s therapist, the therapist told Harvard that Kilburn had

already contacted her to search for documentation relevant to Harvard’s investigation. Before the

therapist sent Harvard the two pages of notes the therapist had located at Kilburn’s request,

Harvard’s investigator told the therapist that Harvard’s procedures required Harvard to disclose

any records the therapist provided to Comaroff. Consistent with its policies, Harvard used the two

pages of records the therapist sent solely in connection with its investigation of Kilburn’s

complaint and the internal appeals from, and the adjudication of, the investigation’s findings.

Despite Harvard’s repeated reminders to Kilburn that its investigatory procedures required

disclosure of the therapy records to Comaroff, Kilburn expressed no objection to Harvard’s use of

those records, or their disclosure to Comaroff, until after the investigation had ended and the

internal appeals panel had convened.

       These facts, which are beyond dispute, make clear that Count Ten of the complaint, alleg-

ing that Harvard wrongfully induced Kilburn’s therapist to disclose confidential information and

invaded her privacy—is wholly without merit. Therefore, Harvard respectfully requests that the

Court enter summary judgment in favor of President and Fellows of Harvard College favor on

Count Ten of the Complaint.



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II. PROCEDURAL BACKGROUND AND PLAINTIFF KILBURN’S CLAIM IN COUNT TEN

       On February 8, 2022, three Harvard graduate anthropology students, Margaret Czerwinski,

Lilia Kilburn, and Amulya Mandava, filed a ten count, 65-page complaint against Harvard

University and the President and Fellows of Harvard College, alleging (among other things) that

Harvard had discriminated against them by failing to prevent Professor John Comaroff, a professor

in the Anthropology and African and African American Studies Departments, from engaging in a

pattern of sexual harassment and retaliation against them. See Complaint, ¶ 181.

       Count Ten of the Complaint is brought on behalf of only one of the three plaintiffs, Lilia

Kilburn. See Complaint (Dkt. No. 1 ), ¶¶ 267-81. Kilburn has been a graduate student in Harvard’s

Anthropology Department since 2017. Id. ¶ 20. Kilburn alleges that on May 18, 2020, she filed a

formal complaint against Comaroff with Harvard’s Office for Dispute Resolution (“ODR”) the

Harvard administrative office charged with investigating complaints of sexual harassment. Id. ¶¶

49, 123. Kilburn alleges that, as part of that investigation, “ODR contacted Ms. Kilburn’s

psychotherapist, a private therapist unaffiliated with Harvard, and obtained the psychotherapy

notes from her sessions with Ms. Kilburn. ODR did not obtain Ms. Kilburn’s consent for the

release of those records.” Id. ¶ 134. Kilburn alleges that Harvard wrongfully induced her therapist

to breach the therapist’s fiduciary duty to hold Kilburn’s medical records in confidence and

violated the Massachusetts invasion of privacy statute, M.G.L c. 214 § 1B.

III. ARGUMENT

 A. Summary Judgment is Appropriate Here.

       Summary judgment is appropriate when “there is no genuine issue of material fact and the

moving party is entitled to judgment as a matter of law.” Sanchez-Rodriguez v. AT&T Mobility

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Puerto Rico, Inc., 673 F.3d 1, 9 (1st Cir. 2012). “When a plaintiff opposes summary judgment, she

bears ‘the burden of producing specific facts sufficient to deflect the swing of the summary

judgment scythe.’” Theidon v. Harvard Univ. 948 F.3d 477, 494 (1st Cir. 2020) (quoting Mulvihill

v. Top-Flite Golf Co., 335 F.3d 15, 19 (1st Cir. 2003)). “For this purpose, she cannot rely on

‘conclusory allegations, improbable inferences, acrimonious invective, or rank speculation.’”

Theidon, 948 F.3d at 494 (quoting Ahern v. Shinseki, 629 F.3d 49, 54 (1st Cir. 2010). “To be

genuine, a factual dispute must be built on a solid foundation—a foundation constructed from

materials of evidentiary quality.” Nieves-Romero v. United States, 715 F.3d 375, 378 (1st Cir.

2013).

         Under Fed. R. Civ. P. 56(b), “a party may file a motion for summary judgment at any time

until 30 days after the close of all discovery.” See Chan Wing Cheung v. Hamilton, 298 F.2d 459,

460 n.1 (1st Cir. 1962); Hubicki v. ACF Indus., Inc., 484 F.2d 519, 522 (3d Cir. 1973); 6 Moore's

Federal Practice par. 56.08 n.19 (2d ed. 1982). As the First Circuit said in Chan Wing Cheung, 298

F.2d at 460 n.1: “[i]f a defendant, through affidavits or otherwise, shows that a plaintiff has no

case, the absence of a formal answer cannot be material.”

  B. Facts Kilburn Cannot Dispute Show that Kilburn Urged ODR to Speak to Her
     Therapist and Obtain her Therapist’s Notes After Having Been Repeatedly Told that
     ODR’s Policies Required ODR to Share Those Notes with Comaroff.

      Harvard did not obtain Kilburn’s therapy records without her consent. To the contrary,

Kilburn volunteered to ODR that she had seen a therapist who had information she believed would

corroborate her claims; told Harvard the therapist would “attest” to what Kilburn said in therapy;

urged Harvard to contact the therapist to obtain her records; provided the therapist’s contact

information to Harvard; and communicated with the therapist about Harvard’s investigation—all

with the knowledge that Harvard’s investigatory procedures required that any relevant documents
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or information Harvard received from the therapist be shared with Comaroff. The facts that follow

cannot genuinely be disputed:

   1. ODR Begins Its Investigation and Informs Kilburn That its Policies Require Sharing
      Information with Both Parties.

       ODR is responsible for investigating formal complaints of sexual harassment at Harvard.

Harvard’s Statement of Material Facts (“SF”) ¶ 1. ODR’s investigation of Kilburn’s allegations

about Comaroff began on May 18, 2020. Id. ¶ 7. On that date, ODR received an email from Seth

Avakian, Program Officer for Title IX and Professional Conduct in Harvard’s Faculty of Arts and

Sciences (“FAS”), attaching a complaint based on information that Kilburn, among others,

provided to him. Id. ¶ 8. Avakian’s complaint raised questions about whether Comaroff’s conduct

had violated Harvard policies, including the Sexual and Gender-Based Harassment Policy and

Procedures for the Faculty of Arts and Sciences at Harvard University (“the Policy and

Procedures”). Id. ¶¶ 5, 8-9.

       Under the Policy and Procedures, Avakian’s complaint required ODR to conduct what the

Policy and Procedures call an “Initial Review.” Id. ¶ 11. In an Initial Review, an ODR investigator

seeks to meet with the potential Complainant and gathers information to “determine whether the

information, if true, would constitute a violation of this Policy such that an investigation is

warranted . . . .” Id. ODR assigned Senior Investigator Ilissa Povich to investigate Kilburn’s

allegations against Comaroff. Id. ¶ 4. On June 4, 2020, Povich emailed Kilburn:

       I am an Investigator in the Office for Dispute Resolution (“ODR”), and I am
       reaching out to see whether you would be available to discuss a matter that has
       come to the attention of our office . . . . I am contacting you in your capacity as a
       potential witness or potential complainant.
       Please find the following documents linked for your review: 1) the Sexual and
       Gender-Based Harassment Policy and Procedures for the Faculty of Arts and
       Sciences Harvard University; 2) Harvard University’s Procedures for
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       Handling Complaints Involving Students Pursuant to the Sexual and Gender-
       Based Harassment Policy; 3) Frequently Asked Questions Concerning the
       Policy and Procedures; 4) Frequently Asked Questions Concerning the FAS
       Policy and Procedures; 5) the ODR Flowchart for Investigative Process; and 6)
       the Personal Advisor Role Frequently Asked Questions. As outlined in these
       documents, your participation is entirely voluntary, and ODR respects and protects
       privacy to the greatest extent possible, sharing information only on a need-to-know
       basis.

Id. ¶ 14. ODR’s June 4, 2020 email to Kilburn contained hyperlinks (set out in bold in above) to

documents describing ODR’s investigative process. Id. ¶ 15. Two in particular described ODR’s

policies and practices concerning the sharing of information provided to ODR in the course of

investigations. The document entitled “Frequently Asked Questions Concerning the Policy and

Procedures” included the following language:

       Will both parties have access to the materials that ODR uses in reaching its
       conclusions?
       Yes. During the course of the investigation, both the complainant and the
       respondent will have the opportunity to respond to all information used by the
       Investigative Team in reaching its conclusions. They will also have the opportunity
       to provide the Investigative Team with any additional information that they have.
       This information, like other information received from the complainant and
       respondent during the investigatory process, will be shared with the other.

Id. ¶ 19 (emphasis added). Another hyperlinked document, the “ODR Flowchart for Investigative

Process,” also contained a detailed description of ODR’s process. It too explained that:

       ODR collects additional information (e.g., interview witnesses, collect documents,
       conduct site visits). The parties may submit additional materials they believe may
       be relevant. Copies of these materials will be given to the other party and, at that
       party’s discretion, their personal advisor (if applicable) . . . .

Id. ¶ 20 (emphasis added). On July 2, 2020, ODR again reminded Kilburn that information ODR

gathered from Kilburn or witnesses Kilburn identified would be shared with Comaroff. In response



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to a question from Kilburn, ODR Fellow Jessica Shaffer, who was working with Povich on the

investigation, wrote Kilburn:

        Both parties have the right to review and respond to all information that ODR may
        rely on in the investigation, including the complaint, the response, any written
        information provided by a witness, or other documents submitted.

Id. ¶ 23. Kilburn acknowledged receipt of ODR Fellow Shaffer’s email, stating: "Hi Jessica and

Ilissa, Thank you for this information—it is helpful . . . .” Id. ¶ 24.

        On July 13, 2020, Povich and Shaffer interviewed Kilburn by Zoom. Kilburn’s personal

advisor, Jacqueline Yun, was also present.1 Id. ¶ 25. At the outset of the meeting, Povich explained

ODR’s role and gave Kilburn an overview of the investigative process. Id. ¶¶ 26-27. As Povich’s

affidavit states, Povich told Kilburn that ODR approached the investigation as a neutral and that

Kilburn’s participation was voluntary. Id. ¶ 28. She also explained that ODR’s procedures required

ODR to share information she provided—and information provided by witnesses she identified—

with Comaroff. Id. ¶ 29. Later in ODR’s July 13 interview of Kilburn, Kilburn volunteered that

she had described her interactions with Comaroff in a survey about LGBT life at Harvard. Id. ¶

38. Povich again reminded Kilburn that ODR’s procedures required ODR to share with Comaroff

information Kilburn provided to ODR. Id. ODR Fellow Shaffer’s contemporaneous notes quote

Povich saying (about the survey): “You’re welcome to provide that to us. As a reminder that would

be shared with [Comaroff].” Id. ¶ 37.

        ODR’s interview of Ms. Kilburn continued on July 20, 2020. Id. ¶ 40. On that date, Povich

again reminded Kilburn that information she provided to ODR would be shared with Comaroff.




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 Under the Policy and Procedures, each party may select a personal advisor to support them during
ODR’s investigation. Kilburn selected Yun. SF ¶¶ 20, 25.

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Id. As ODR’s notes record, Povich told Kilburn: “Our process is we share what was provided by

the parties. He’ll see everything you submit, and you will see everything he submits.” Id.

Accordingly, by the end of the July 20, 2020 interview, ODR had informed and reminded Kilburn

no fewer than seven times—at least three times in writing, at least three times on July 13, 2020,

and at least once on July 20, 2020—that ODR’s procedures required it to share information it

received in its investigation with Comaroff.

   2. Kilburn Urges ODR to Obtain Her Therapist’s Notes and Provides Her Therapist’s
      Contact Information.

       Comaroff submitted his Response to Kilburn’s complaint on August 12, 2020. Id. ¶ 42. On

August 13, 2020, consistent with ODR’s policy, Povich sent Kilburn a copy of Comaroff’s

Response. Id. ¶ 43. Kilburn, in turn, submitted on August 24, 2020 a 36-page document responding

to Comaroff’s Response Id. ¶ 45. Kilburn’s August 24, 2020 submission stated that, during the

summer of 2018, while speaking to a counselor at Harvard University Health Services (“HUHS”)

she was seeing about matters unrelated to Comaroff, “I also began to speak to a counselor about

Comaroff himself . . . his repeated sexual harassment of me . . . about how uncomfortable he had

made me and how I felt he was involving his wife in his misconduct, using her as cover.” Id. ¶ 46.

Kilburn’s submission said that she became concerned that her HUHS counselor might be a

“mandatory reporter” obligated to report what Kilburn said to Harvard and that Kilburn “might be

forced into reporting Comaroff before I was ready.” Id. ¶ 47. Kilburn’s August 24 submission

continued:

       Because of my fear that discussing my experiences frankly with a Harvard
       employee would remove my agency over how that information was shared, I sought
       out a new licensed mental health professional with whom to discuss these issues. I
       consulted her in 2018 and again in 2019. . . as I specifically weighed whether I
       should pursue disciplinary action against Professor Comaroff. She is currently on
       vacation, but I believe she has specific memories of our conversations about
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       misconduct in my department, my concerns about the damage Professor
       Comaroff could do to my career, and my repeated and unfruitful attempts to get
       assistance. She is ready to attest to this when she returns from vacation.
       Thank you to Professor Comaroff for jogging my memory on this additional
       incident of contemporaneous corroboration and disclosure of his misconduct and
       its effects on me.
Id. (emphasis added).

       On August 28, 2020, ODR conducted a follow-up interview of Kilburn. Id. ¶ 48. Kilburn’s

personal advisor, Yun, asked ODR whether Kilburn could list a therapist as a potential witness. Id.

As ODR’s notes reflect:

       [Yun]: Procedural question about witnesses: If you confide in a confidential
       resource, a therapist, can you list them as a potential witness and they’ll have the
       option to participate?
       ODR: [Explains ODR will speak to confidential resources, but that such witnesses
       often will not participate without a waiver from the party.]
       [Yun]: It’s okay to do that?
       ODR: Absolutely. If you give them that waiver, they will generally talk to us.

Id. ¶ 49. Later in the interview, ODR followed up with Kilburn about the therapist she had

mentioned in her August 24, 2020 submission as having “corroboration” for her allegations. Id. ¶¶

47, 50. Kilburn volunteered that the therapist “should have a bunch of notes or memories for

you.” Id.¶ 50 (emphasis added). ODR’s contemporaneous notes record the exchange:

       ODR: You also referred to a licensed mental health professional and a UHS
       counselor. I understood you went outside the University because you were
       concerned about Title IX reporting requirements. Those people are confidential.

       [Kilburn]: I didn’t realize that--only through this process. I was worried about
       losing control of the information at the time.

       ODR: Are there people outside the University or in the University who you feel
       like you provided information to that was not provided to other people?

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       [Kilburn] I can’t say it wasn’t provided to other people, but I’m sure I spoke in
       great detail on impact a lot about worries in my career and what I said and what
       it would mean to say something about this. [The therapist] who I worked with all
       through fall 2018 and also spring 2019, and I think she should have a bunch of
       notes or memories for you.

Id. (emphasis added). Later in the interview, as ODR’s notes reflect, Povich told Kilburn: “We ask

every single witness if they have documents that are relevant, which we share with you.” Id. ¶ 51.

       On September 25, 2020, Kilburn sent ODR an email containing names and contact

information for eight witnesses. Kilburn wrote: “I think the following would make sense as a first

set of people for you to speak to; I'll attach email addresses for non-Harvard people, but please let

me know if you'd like phone numbers also.” Id. ¶ 55. The list of eight names included the name

and email address of the therapist Kilburn identified as a witness during ODR’s August 28, 2020

interview. Id. ¶ 56. In response, ODR reminded Kilburn that her email would be “redacted to

remove personally identifying information and will be provided to Respondent.” Id.

     3. ODR Contacts Kilburn’s Therapist, as Kilburn Requested.

       On October 19, 2020, ODR wrote to Kilburn’s therapist at the email address Kilburn had

provided, informing the therapist ODR was reaching out to her “as a potential witness because

ODR has received notice that you may have information about a matter that our office is

investigating.” Id. ¶ 57. The therapist wrote back, offering to speak with ODR, and ODR

interviewed the therapist on October 22, 2020. Id. ¶ 58. At the beginning of the interview, ODR

confirmed that the therapist knew why ODR wished to speak with her. Id. ¶ 59. The therapist told

ODR that Kilburn has sent her an email over the summer about the investigation. Id. As recorded

in ODR’s detailed notes, the therapist said: “I did get an email from [Kilburn] over the summer

asking if I had documentation about what we talked about . . . related to her position as a Ph.D.

candidate at Harvard and what the atmosphere is like.” Id. ¶ 60.
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        ODR explained to the therapist that ODR would share information ODR might rely on with

all the parties to the investigation. Id. ¶ 59. The therapist said she was no longer working with

Kilburn but had seen her approximately weekly between September 2018 and March 2019. Id. ¶

60. The therapist stated that she had been a licensed mental health counselor for 28 years. Id. ODR

followed up on Kilburn’s August 28, 2020 statement that therapist “should have a bunch of notes

or memories for [ODR]” by asking whether the therapist was willing to provide any documents

related to her discussion with Kilburn to ODR. Id. ¶ 62. The therapist said she had gone through

her notes and identified two she believed “might be helpful.” Id. ¶ 64. ODR informed the therapist,

as ODR’s contemporaneous notes state: “Understand if you provide [information] and we think

we might rely on it, we would send it to both parties.” Id. ¶ 63. ODR further explained that, under

the Family Educational Rights and Privacy Act (“FERPA”), ODR would redact student identifying

information from any records it disclosed. Id. ¶ 64. The therapist told ODR that she would provide

notes from her therapy sessions on two dates in March 2019. Id. She added: “In transmitting via

email I need to comply with HIPAA.” Id. She also told ODR, “confidentiality is my bread and

butter.” Id. Later on October 22, 2020, Kilburn’s therapist sent ODR those two days of therapy

notes. Id. ¶ 65.

        ODR interviewed Kilburn’s therapist and received the two notes the therapist identified

solely because Kilburn identified her as a witness, provided the therapist’s email address to ODR,

and told ODR that the therapist “should have a bunch of notes or memories for [ODR].” Id. ¶¶ 67,

68. Had Kilburn not identified her therapist as a witness and directed ODR to the therapist and her

notes, ODR would not have taken steps to interview the therapist or receive her notes. Id. ¶ 69.

ODR does not seek information about or from a Complainant’s mental health counseling unless,

as here, a Complainant volunteers that information and identifies the mental health counselor as a

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witness. Id. ODR did not—and has not—sought to obtain any information about Kilburn from the

counselor Kilburn told ODR she had seen at Harvard University Health Services. Id. ¶ 52. As

Povich informed Kilburn on August 24, 2020, “[t]hose people are confidential.” Id. ¶ 50. When

ODR does speak to a mental health counselor a party has identified, ODR informs that mental

health counselor, consistent with its procedures, that it will share any information the counselor

provides with both parties to the investigation. Id. ¶ 70.

       On October 30, 2020, and consistent with the written notices and oral explanations of

ODR’s information-sharing procedures ODR had given Kilburn since the outset of the

investigation, ODR sent redacted copies of the two pages of the therapist’s notes (as well as other,

non-therapy-related documents) it had received from Kilburn, Comaroff, and their witnesses to

Kilburn, Comaroff, and their personal advisors. Id. ¶ 72. ODR redacted personally identifying

information from the therapy notes and also redacted certain information not pertinent to the

investigation from one of the notes. Id. ¶¶ 72-73. Kilburn did not at this time give Harvard any

indication that she objected to this exchange of documents, including the therapy notes.

   4. ODR Reminds Kilburn That ODR Was Following its Information Sharing Procedures;
      Kilburn Expresses No Objection to ODR Disclosing the Therapy Notes to Comaroff.

       As the investigation proceeded, ODR frequently reminded Kilburn it was following its

procedures by sharing the information it gathered with both parties. For example, ODR repeatedly

sent Kilburn copies of documents provided by Comaroff or witnesses Comaroff identified. Id. ¶

44. In three separate sessions on January 5, 6, and 7, 2021, ODR met with Kilburn and her personal

advisor to hold a “review of evidence meeting” —a standard part of the ODR process in which

ODR reviews with the parties the evidence it has gathered in the course of its investigation and

asks follow-up questions. Id. ¶ 75. In those sessions, ODR read to Kilburn verbatim from ODR’s


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detailed notes of interviews of witnesses Kilburn identified, including the therapist; from

interviews of witnesses Comaroff identified; and from ODR’s interview of Comaroff. Id. ¶ 77-78.

          At the beginning of the January 6, 2021 session, Kilburn again suggested her

communications with her therapist contained information relevant to ODR’s investigation. As

ODR’s contemporaneous notes state, Kilburn said: “I also realize I did have some emails with [the

therapist] that maybe I’ll send you that I think could potentially be helpful, conversations I

explicitly remembered having about [Comaroff] and I think she did lose some records, so I can

send you that.2 Id. ¶ 77. At the end of ODR’s January 7, 2020 meeting with Kilburn, ODR advised

Kilburn that ODR’s next step was to hold a review of evidence meeting with Comaroff. Id. ¶ 79.

Kilburn—who had just participated in a review of evidence meeting—expressed no concerns about

ODR conducting such a meeting with Comaroff. Nor did she object to ODR sharing the therapy

notes with Comaroff at that meeting. Id. ¶ 80.

          On May 10, 2021, ODR sent Kilburn a Draft Report of ODR’s investigation of her

complaint against Comaroff. Id. ¶ 91. ODR’s cover email stated: “Under the FAS Procedures, the

Investigator provides Complainant and Respondent with a written draft of the findings of fact and

analysis . . . the documents referenced in the Draft Report were already provided by you or to you

during the investigation, and will be attached as exhibits to the Final Report.” Id. (emphasis in

original). The Draft Report referred specifically to ODR having conducted an interview of

Kilburn’s counselor and having received the therapist’s notes. Id. ¶ 93. On June 14, 2021, Kilburn

provided a 61-page, single-spaced response to ODR’s Draft Report. Id. ¶ 94. Although Kilburn’s

response criticized ODR’s investigation in many respects, Kilburn’s response did not express



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    Kilburn did not in fact send such emails to ODR. SF ¶ 77.

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concerns about—or, indeed, even mention—ODR’s disclosure of information provided by

witnesses Kilburn identified, like her therapist, to Comaroff. Id. ¶ 95.

        ODR issued its Final Report (with exhibits, including the two pages of redacted therapy

notes) to Kilburn and Comaroff on August 27, 2021. Id. ¶ 96.3 On September 3, 2021, Kilburn

submitted an appeal of ODR’s Final Report to Harvard’s Office for Gender Equity. Id. ¶ 100.

Kilburn’s appeal did not complain about ODR having received the therapy notes from her

counselor or ODR having provided those notes in redacted form to Professor Comaroff. Id.

    C. On These Facts Count Ten Fails as a Matter of Law; Consequently, the Court Should
       Enter Summary Judgment.

     1. Because Harvard Reasonably Believed the Therapist Provided the Notes Without
        Violating Any Duty to Kilburn, the Court Should Enter Summary Judgment in Harvard’s
        Favor on Count Ten.

        Kilburn alleges that Harvard violated her right to privacy under M.G.L. c. 214, § 1B by

inducing her therapist to give Harvard her psychotherapy records without her consent, then

disclosing those records. Kilburn’s claim is wholly without merit. To prevail, Kilburn must

demonstrate that Harvard did not reasonably believe that the therapist could send Harvard the notes

without breaching her duty to Kilburn. Because Kilburn cannot make that showing here, she cannot

meet the “the burden of producing specific facts sufficient to deflect the swing of the summary

judgment scythe.” Theidon v. Harvard Univ., 948 F.3d at 494 (citation omitted).




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 The Report concluded that Comaroff had violated the Sexual and Gender-Based Harassment Policy by
engaging in an inappropriate discussion with Kilburn in a meeting in August 2017 but concluded that a
preponderance of the evidence did not support the other allegations Kilburn made. SF ¶ 97.

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G.L. c. 214, § 1B provides that “a person shall have a right against unreasonable, substantial or

serious interference with his privacy.” The Supreme Judicial Court has recognized that medical

professionals may violate c. 214, § 1B by “disclosure without the consent of the patient, of

confidential medical information.” Towers v. Hirschorn, 397 Mass. 581, 586-87 (1986) (plaintiff’s

claim that her neurologist disclosed information about her condition without her knowledge or

consent, sufficient to create liability against her neurologist for invasion of privacy under c. 214,

§1B).

        But a plaintiff must meet a much higher burden when claiming that a third party (here,

Harvard), not a treatment provider, violated M.G.L. c. 214, § 1B. To recover against Harvard,

Kilburn must show that Harvard did not reasonably believe, under the circumstances, that the

therapist could send Kilburn’s therapy notes to Harvard without violating the therapist’s

obligations to Kilburn. See Alberts v. Devine, 395 Mass. 59 (1985). In Alberts, the Supreme

Judicial Court addressed the question whether, and under what circumstances, a third party may

be held liable for inducing a medical professional to violate the patient’s confidentiality. Alberts,

a minister, sued two of his clerical superiors and his psychiatrist, alleging that his superiors

“intentionally induced” the psychiatrist to disclose confidential information concerning his

treatment, then disseminated that information widely. Id. at 61. The Court held that the minister

could seek damages against a physician if the physician, without the patient's consent, makes an

out-of-court disclosure of confidential information obtained in the course of the physician-patient

relationship.” Id. at 65. The SJC then addressed whether the plaintiff’s clerical supervisors could

be held liable for inducing the psychiatrist to disclose information about the minister’s treatment.

The Court ruled as follows:




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        We hold that one who, with the state of mind we describe below, induces a
        physician wrongfully to disclose information about a patient, may be held liable to
        the patient for the damages that flow from that disclosure . . . . To establish liability
        the plaintiff must prove that: (1) the defendant knew or reasonably should have
        known of the existence of the physician-patient relationship; (2) the defendant
        intended to induce the physician to disclose information about the patient or the
        defendant reasonably should have anticipated that his actions would induce the
        physician to disclose such information; and (3) the defendant did not reasonably
        believe that the physician could disclose that information to the defendant
        without violating the duty of confidentiality that the physician owed the patient.

Id. at 70-71 (emphasis added). The Court held that summary judgment would be appropriate where

there was no dispute of material fact as to whether the third party accused of inducing the

physician’s breach of duty “reasonably believed” the medical professional could “give them the

information they sought without violating [the] duty of confidentiality . . . .” Id. at 73.4

        Here, as the Affidavit of ODR Senior Investigator Povich and the discussion above makes

clear, Harvard did in fact believe—and believed reasonably—that the therapist could provide the

two pages of records at issue without violating any duty of confidentiality to Kilburn. SF ¶ 71

Kilburn cannot produce “specific facts,” see Theidon, 948 F.3d at 494, sufficient to establish that

Harvard’s belief was not reasonable. Indeed, all the facts point to that conclusion that Harvard’s

belief was reasonable. Kilburn did far more than merely consent to ODR obtaining the therapy

records. Kilburn urged ODR to speak to the therapist because the therapist “should have a bunch

of notes or memories” that would corroborate Kilburn’s claims. SF ¶ 50. She included the



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 The conduct at issue in Alberts occurred before the enactment of c. 214, § 1B; therefore that statute did
not explicitly apply. Under the circumstances, however, this is a distinction without a difference. Albert’s
holding that a physician owes a common law duty to maintain patient confidences is the functional
equivalent of c. 214, § 1B’s recognition of “a patient's valid interest in preserving the confidentiality of
medical facts relayed to a physician.” Towers v. Hirschorn, 397 Mass. at 586 (quoting Bratt v. International
Business Machs. Corp., 392 Mass. at 522).

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therapist’s name and contact information on the first witness list she sent ODR, saying “I think the

following would make sense as a first set of people for you to speak to . . . .” Id. ¶ 55. Harvard

investigators were informed that Kilburn emailed the therapist, whom she was no longer seeing

for treatment, to ask the therapist to review records for helpful information. Id. ¶ 60.

           When ODR contacted the therapist (as Kilburn had urged ODR to do), ODR informed the

therapist that its procedures required it to share any information the therapist provided to all parties,

and confirmed that the therapist had communicated with Kilburn about ODR’s request for

information. Id. ¶¶ 59-60. The therapist told ODR that Kilburn had emailed her asking her to search

for documents that might be helpful to Kilburn in the investigation. Id. The therapist selected the

two pages of therapy notes which she provided to ODR. Id. ¶ 65. The therapist had twenty-eight

years of experience as a licensed mental health counselor, described her familiarity with HIPAA,

and told ODR, “confidentiality is my bread and butter.” Id. ¶¶ 60, 64.

           Moreover, Kilburn knew that her therapist provided two pages of her therapy notes to

ODR, and likewise knew that ODR’s procedures required ODR to share them with Comaroff. Id.

¶ 23. Indeed, Harvard informed Kilburn at the outset of the investigation that ODR’s procedures

required ODR to share information she or her witnesses provided with Comaroff. Id. ¶¶ 18-24.

ODR repeatedly reminded Kilburn of that procedural requirement—doing so explicitly at least

eight times throughout the investigation.5 Id. ¶¶ 19, 20, 23, 29, 37-38, 40, 51, 56, 72. ODR also

routinely shared information Comaroff provided with Kilburn, also doing so on at least eight

occasions. Id. ¶¶ 43-44, 77. Despite filing a 61-page response to ODR’s Draft Report, Kilburn did

not complain about the reference to her therapist’s notes and again said nothing when she filed an



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    This includes the seven occasions referred to supra, at 8.

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internal appeal of the findings of the Final Report, which appended redacted copies of the therapy

notes as exhibits. Id. ¶¶ 94-95, 100.

   2. Harvard Did Not Disseminate Kilburn’s Therapist’s Records More Widely than
      Necessary to Comply with Its Policies.

       This is hardly a case, as the Complaint suggests, where Harvard disseminated Kilburn’s

therapists’ notes more widely than its policies required. See Complaint, ¶ 278. Here, Harvard

limited dissemination of the records to those who played a formal role in the investigation of

Kilburn’s complaint. In the first instance, the notes were distributed only to the parties and their

personal advisors. SF ¶ 72. ODR repeatedly reminded the parties and their advisors of the

expectation of confidentiality stated in the Policy and Procedures:


       Once a complaint is filed, the Complainant or Reporter, the Respondent, and any
       witnesses will be notified that disclosing information about the case has the
       potential for compromising the integrity of the investigation and might, in certain
       circumstances, be construed as retaliatory. Retaliation of any kind is in itself a
       separate violation of this Policy and may lead to an additional complaint and
       consequences.

       The parties remain free to share their own experiences, other than information
       that they have learned solely through the investigatory process; though, to avoid
       the possibility of compromising the investigation, it is generally advisable to limit
       the number of people in whom they confide.

Id. ¶¶ 21, 41, 54, 85, 92 (emphasis added). When ODR completed its investigation, ODR sent the

Final Report, which included redacted copies of the therapist’s notes, to Kilburn, Comaroff, their

personal advisors and, consistent with the Policy and Procedures, to Kwok Yu, Senior Associate

Dean for Faculty Affairs, “as the Title IX Resource Coordinator and Liaison for FAS.” Id. ¶ 96.

Thereafter, facts Kilburn cannot dispute show that Harvard limited its distribution of the full Final

Report (and, in particular, the Report’s discussion of Kilburn’s therapist and the two pages of notes

the therapist provided) to the faculty panel who decided the appeals of Kilburn and Comaroff and
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the individuals whom advised Dean Gay in connection with her decision to impose sanctions. Id.

¶¶ 102-109. Plaintiff has no factual basis to contend that Harvard distributed the therapy notes at

issue more widely than its policies required, or to individuals not necessary to adjudicate Kilburn’s

complaint and the appeals taken from ODR’s Final Report concerning that Complaint.

       3.      HIPAA and Related Regulations Provide No Basis for Relief Against Harvard.

       Plaintiff’s complaint alleges that 45 C.F.R. § 164.508 “prohibits the release of Ms.

Kilburn’s medical records to Harvard without her specific, written, and signed authorization.” That

regulation has no application here for at least two reasons. First, that regulation—issued by the

Department of Health and Human Services under the Health Insurance Portability and

Accountability Act of 1996 (“HIPAA”), see 67 Fed. Reg. 53181 (August 14, 2002) —does not, by

its terms, apply to Harvard in this situation. It states: “Except as otherwise permitted or required

by this subchapter, a covered entity may not use or disclose protected health information without

an authorization that is valid under this section.” 45 C.F.R. § 164.508(a)(1) (emphasis added). The

regulations define a “covered entity” as “[a] health plan; (2) [a] health care clearinghouse; [or] (3)

[a] health care provider who transmits any health information in electronic form in connection with

a transaction covered by this subchapter.” Plaintiff does not allege that Harvard was her health

care provider or falls in any of those categories as to her.

       Second, even if they applied to Harvard here (and they do not), HIPAA and the regulations

issued under it do not create a private right of action entitling a private plaintiff, like Kilburn, to

seek damages. See Miller v. Nichols, 586 F.3d 53, 59-60 (1st Cir. 2009); Willitts v. Engie N. Am.,

Inc., Civil Action No. 20-cv-11255-ADB, 2021 U.S. Dist. LEXIS 106539, at *11 (D. Mass. June

7, 2021) (“it is well established that HIPAA does not create a private right of action”).



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IV. CONCLUSION

       For the reasons set forth above, Harvard respectfully requests that the Court enter summary

judgment in Harvard’s favor on Count Ten. Count Ten’s allegations are not only indisputably false,

they are irresponsible. Left unchecked, Count Ten’s false allegations—which have been widely

publicized6—will continue to create the risk that Harvard students will be discouraged from

availing themselves of the Title IX process because of a baseless fear that Harvard investigators

will obtain their therapy records without their consent. The allegations in Count Ten cannot defeat

the clear evidentiary record Harvard has presented, a record that makes summary judgment on that

Count appropriate here.




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 See, e.g., Anemona Hatocollis, After Sexual Harassment Lawsuit, Critics Attack Harvard’s Release of
Therapy Records, N.Y. TIMES, (Feb. 15, 2022) https://www.nytimes.com/2022/02/15/us/harvard-kilburn-
therapy-records.html; Katy Rose Guest Pryal, When Universities Raid Student Therapy Records, CHRON.
HIGHER EDUCATION (Feb. 11, 2022), https://www.chronicle.com/article/when-universities-raid-student-
therapy-records; Coleen Flaherty, ‘Without Her Consent’, INSIDE HIGHER ED, (Feb. 10, 2022),
https://www.insidehighered.com/news/2022/02/10/harvard-allegedly-obtained-students-outside-therapy-
records; Tarpley Hitt, So How Did Harvard Get Private Therapy Records Without Consent, GAWKER
(Feb. 9. 2022), https://www.gawker.com/news/so-how-did-harvard-get-private-therapy-records-without-
consent.




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Fellows of Harvard College



                              LOCAL RULE 7.1 CERTIFICATION
        I hereby certify that, pursuant to Local Rule 7.1(a)(2), I met and conferred with counsel for
Plaintiffs on May 31, 2022 and the parties were unable to narrow or resolve the issues raised therein.
.
                                                      /s/ Martin F. Murphy
                                                      Martin F. Murphy




                                CERTIFICATE OF SERVICE
        I, Martin F. Murphy, hereby certify that a copy of the foregoing was sent via the Court’s
electronic filing system and served to all counsel of record on May 31, 2022.


                                                      /s/ Martin F. Murphy
                                                      Martin F. Murphy




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